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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                       Criminal No.: 21-CR-108 (2) (PAM/TNL)

UNITED STATES OF AMERICA,                )
                                         )
                              Plaintiff, )
vs.                                      )           MOTION FOR SEVERANCE
                                         )
                                         )
TOU THAO,                                )
                                         )
                              Defendant. )
                                         )



         The Defendant, Mr. Tou Thao, by and through his attorneys, Robert Paule

and Natalie R. Paule, respectfully moves this Court pursuant to Rule 14 of the

Federal Rules of Criminal Procedure for an order directing severance of co-

defendant Derek Chauvin in the above-captioned case from as to the defendant on

the grounds that:

      1. The defendants charged in the indictment are not properly joined under

         Rule 8(b) of the Federal Rules of Criminal Procedure.

      2. The jury will have insurmountable difficulty distinguishing the alleged acts

         of each defendant from the alleged acts of his co-defendants.

      3. Evidence may be introduced by each defendant which would be

         inadmissible against other defendants in a separate trial to the prejudice of

         those defendants.



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   4. The counts of the indictment are not properly joined under Rule 8(a) of the

       Federal Rules of Criminal Procedure.

   5. Mr. Thao’s Fifth Amendment right to not incriminate himself will be

       jeopardized by the joinder of the counts.

   6. Evidence which would be inadmissible were the counts tried separately,

       may be admitted and considered by the jury to the prejudice of Mr. Thao.

   7. The jury will have insurmountable difficulty distinguishing evidence

       presented on one count from that evidence presented on the other counts,

       and will inevitably consider the evidence cumulatively.

   8. Mr. Thao will obtain a fair and more impartial trial he is tried separately

       from his co-defendants.

       This Motion is based on the indictment, the records and files in the above-

entitled action, and any and all other matters which may be presented prior to or at

the time of the hearing on said Motion.


                                                   Respectfully submitted,



Dated: This 3rd day of August, 2021                /s/ Robert M. Paule
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